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                                                                                II




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                                                                                     I




      EXHIBIT A
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 LAW OFFICES OF JEREMIAS E. BATISTA, LLC
 JEREMIAS E. BATISTA, ESQ. - Attorney ID#: 023872005
 417 CLIFTON AVENUE
 CLIFTON, NEW JERSEY 07011
 Tel. 973.340.9600
 Fax. 973.928.8084
 law@jeremiasbatista.com
 Attorney for the Plaintiff

  ANNETTE SANCHEZ,                                   SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: HUDSON COUNTY
                           Plaintiff,                DOCKET NO: HUD-L-

   vs.                                               CIVIL ACTION

  HOME DEPOT USA INC., ABC                           COMPLAINT AND JURY DEMAND
  COMPANIES (1-5) (fictitiously named as
  yet unknown),

                           Defendants.



          The plaintiff, ANNETTE SANCHEZ, residing in the County of Hudson and State of

 New Jersey, by way of Complaint, says:

                                              FIRST COUNT

          1.   On or about June 8, 2019, the plaintiff, Annette Sanchez, was lawfully upon the

 premises as a business invitee, of Home Depot, located at 7605 Tonnelle Avenue, in the Township

 of North Bergen, County of Hudson and State of New Jersey, when she was caused to trip and fall

 as she was exiting the bank to the parking lot, causing severe injury to the Plaintiff.

          2. On the aforesaid date, the Defendants, Home Depot USA, Inc. and/or ABC Companies

 1-5 (fictitiously named as yet unknown) owned, occupied, operated and maintained the premises

 commonly known as Home Depot, located at 7605 Tonnelle Avenue, Township of North Bergen,

 County of Hudson, State of New Jersey.


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         3. On the aforesaid date, the Defendants, Home Depot USA, Inc. and/or ABC Companies

  1-5 (Fictitiously named as yet unknown) did so negligently and carelessly own, occupy, operate

 and maintain the aforesaid premises so as to cause a dangerous condition to exist thereon.

         4. It was the duty of the Defendants, to exercise ordinary care to render the premises

 reasonably safe and takes steps that are reasonable and prudent to correct or give warning of

 hazardous conditions which are actually known to him/her or correct or give warning of hazardous

 conditions which Defendants, through the exercise of reasonable care, could discover.

         5. The Defendant was further negligent in that, although he knew, or in the exercise of

 reasonable care, should have known that such a dangerous and unsafe condition existed, he posted

 no warning signs, took no precautions and gave no notice whatsoever to the lawful visitor(s) of

 the presence of a dangerous condition.

         6. As a direct and proximate result of the negligence of the Defendants, the Plaintiff

 Annette Sanchez, tripped and fell down and sustained severe bodily injuries, was caused to suffer

 great pain and mental anguish and will in the future continue to suffer great pain and mention

 anguish, has not been able to perform usual activities, has lost wages from not being able to

 perform her occupation, and was caused to expend large sums of monies in an effort to cure and

 treat the aforesaid injuries, and will be SO caused in the future, and suffered temporary and

 permanent disabilities, all to her detriment.

        WI-IEREFORE, the Plaintiff, Annette Sanchez, demands judgment against the

 Defendants, Home Depot USA, Inc. and/or ABC Companies 1-5 (fictitiously named as yet

 unknown), for compensatory damages, lost wages, together with interest and costs of suit.




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                                 DEMAND FOR TRIAL BY JURY

         The Plaintiff demands a trial by jury as to all issues herein.

                                         ATTORNEY FOR PLAINTIFF
                                         LAW QFFiCES OF JEREMIAS E. BATISTA, LLC
                                                     .               .2



                                       4¢¢mi8$ E. Batista, Esq.
                                        Attorney for Plaintiff
  DATED: June 7, 2021

                               DESIGNATION OF TRIAL COUNSEL

         In accordance with Rule 4:25-4, Jeremias E. Batista, Esq., is hereby designated as trial

  counsel for the Plaintiffs in the within matter.

                                         ATTORNEY FOR PLAINTIFF
                                         LAW OFFICES OF JEREMIAS E. BATISTA, LLC
                                                                              'l



                                                     /'
                                                                          l




                                         §¢wmi5'slE. Batista, Esq.
                                         Attorney for Plaintiff
 DATED: June 7, 2021

                                          CERTIFICATION

         The undersigned hereby certifies that the matter in controversy is not now the subject of

 any other pending action in any court and is likewise not the subject of any pending arbitration

 proceeding. The Plaintiffs are not aware of any other parties or the true identities of other parties

  which should be joined in this action at this time.

                                         ATTORNEY FOR PLAINTIFF
                                         LAW OFFICES OF JEREMIAS E. BATISTA, LLC
                                                               .
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                                                                                   /
                                              ;*
                                          esemiaf
                                                          ..
                                                      atista, Esq.
                                         Attorney for Plaintiff
 DATED: June 7, 2021
                                                                                                    3
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  LAW OFFICES OF JEREMIAS E. BATISTA, LLC
  JEREMIAS E. BATISTA, ESQ. - Attorney II)#: 023872005
  417 CLIFTON AVENUE
  CLIFTON, NEW JERSEY 07011
  Tel. 973.340.9600
  Fax. 973.928.8084
  law@jerenliasbatista.eom
  Attorney for the Plaintiff

   ANNETTE SANCHEZ,                                SUPERIOR CCURT OF NEW JERSEY
                                                   LAW DIVISION: HUDSON COUNTY
                           Plaintiff,              DOCKET NO: HUD-L-

    vs.                                            CIVIL ACTION

   HOME DEPOT USA INC., ABC
   COMPANIES (1-5) (fictitiously named as
   yet unknown),

                           Defendants.



 DEMAND FOR ANSWERS TO FORM C AND FORM C (1). C (2) INTERROGATORIES

          Pursuant to Rule 4:17-1(b), demand is hereby made upon Defendant to provide answers to

 Form C and Form C1 or C2 interrogatories contained in Appendix II, within the time limits

 prescribed by the Rules of Court.

           SUPPLEMENTAL INTERROGATORIES PERMITTED PURSUANT TO RULE
                                            4:17-1(b)(i)

           Sl. State whether Defendant or anyone in Defendant's behalf has made or caused to be

  made any surveillance photographs, video tapes, movies or other recordings of the Plaintiff since

  the date of the accident, and if so, please state the date(s) upon which such surveillance

 photographs, video tapes, movies or other recordings were made, the name and address of the

 person taking or making such surveillance photographs, video tapes, movies or other recordings,

  what each surveillance photographs, video tapes, movies or other recordings depict. Pursuant to
                                                                                                4
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  the Rules of Court, this interrogatory is deemed to be continuing encl Plaintiff shall rely upon your

  answer to this interrogatory at the time of trial.

            $2. If you contend or will contend that the permanency of PIaintiffls injuries should not be

  evidential or be considered by the finder of fact, state with detail and with particularity and

  specificity each and every basis of fact or law upon which you will rely to support such contention.

            $3. State whether this Defendant occupiedthe premises where Plaintiffs incident occurred

  as of the date of Plaintiffs accident.

            $4. If this Defendant did not own or occupy the premises where Plaintiffs accident

  occurred as of the date of the Plaintiffs accident, please state the name and address of the person,

  firm and/or corporation who did own and/or occupy the premises where Plaintiff's accident

  occurred as of the date of Plaintiffs accident.

            SS. State whether this Defendant conducted any business on the premises where Plaintiffs

  accident occurred as of the date of Plaintiffs accident, and if so, set forth in detail and with

 particularity and specif?city the nature of the business conducted.

            $6. State whether any inspections or tests made of the accident site by Defendant, or anyone

 in Defendant's behalf, subsequent to the accident alleged by Plaintiff, and if so, please state the

 date of said inspection or test, an exact description of such inspection or test, the name, address

 and job title of the person who performed such inspection or test and the results of said inspection

 or test.

                                           ATTORNEY FOR PLAINTIFP
                                           LAW OFFICES OF JEREMIAS E. BATISTA, LLC
                                                                            I
                                                                   QUO
                                              ém1a3 I:T8 atlsta, Esq.
                                           Attorney for Plaintiff
 DATED: June 7, 2021

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  LAW GFFICES OF JEREMIAS E. BATISTA, LLC
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  Fax. 973.928.8084
  Iaw@jeremiasbatista.com
  Attorney for tlse Plaintiff

   ANNETTE SANCHEZ,                                   SUPERIOR COURT OF NEW JERSEY
                                                      LAW DIVISION: HUDSON COUNTY
                             Plaintiff,               DOCKET NO: HUI),L_

    vs.                                               CIVIL ACTION

   HOME DEPOT USA INC., ABC
   COMPANIES (LS) (fictitiously named as
   yet unknown),

                            Defendants.




                     DEMAND FOR THE PRODUCTION OF DOCUMENTS



           COUNSEL:

           PLEASE TAKE NOTICE, that pursuant to Rule 4: 18~l, demand is hereby made that the

 Defendant furnish the Plaintiffs, by way of their attorney, within thirty (30) days of the date hereof,

 copies or the originals for photocopying, of the following documents which are in their possession,

  custody or control:

           1. Copies of all police reports or public investigation reports known to you to exist. Copies

 of all photographs, videotapes, surveillance tapes and sound recording, upon which you intend to

 rely upon in support of defense or which you may introduce at the time of trial, relating to the

 accident, parties or any vehicles involved.

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          2. Copies of all photographs, videotapes, surveillance tapes and sound recording, upon

  which you intend to rely upon in support of defense or which you may introduce at the time of

  trial, relating to the accident, parties or any vehicles involved.

         3. Copies of all expert reports upon which you intend to rely upon in support of your

  defense herein or may introduce at time of trial.

         4. Copies of all tangible documents or things upon which you intend to rely upon in support

  of your defense asserted herein or may introduce at time of trial.

         5. Copies of all Interrogatories answered by you or on behalf of any party in this action.

         6. Copies of all written statements or a deposition of all oral statements taken from any

 party to this action.

         7. A copy of any and all insurance policy(s) in effect on the date of loss, including any

 Umbrella policies, which may have been in effect.

         8. Copies of any and all estimates of repair and photographs concerning the vehicles of

 any party to this action.

         9. Copies of any and all medical records, reports relating to the Plaintiff concerning injuries

 related to this accident or any other injuries Of' medical condition of Plaintiff.

         10. Photocopy of your client's driver's license front and back.

         II. Names and addresses of each person whom you intend to call at trial as an expert

  witness.

         12. As to each expert witness named, set forth the substance of the facts and opinions to

 which the expert is expected to testify; give a summary of the grounds for each opinion, and furnish

 a copy of the report of each expert.



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         13. Copies of all signed and/or unsigned statements or statements recorded by mechanical

  and/or electronic means made by any witnesses to this incident, directly or indirectly, which are in

  the possession or control of the defendant or defendants counsel.

         14. Copies of all singed and/or unsigned statements or statements recorded by mechanical

  and/or electronic means made by the plaintiffs or the plaintiffs agents or employees which

  statements are in the possession or control of the defendant or defendant's counsel.




                                        ATTORNEY FOR PLAINTIFF
                                        LAW OFFICES OF JEREMIAS E. BATISTA, LLC

                                                 /   1
                                       ,     /       ,n ..
                                      (.IeremEas E. Batista, Esq.
                                         Attorney for Plaintiff
 DATED: June 7, 202 I




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                             Civil Case Information Statement


  Case Caption: SANCHEZ ANNETII'E VS HOME DEPOT                         Case Type: PERSONAL iNJURY
  USA INC.                                                             Document Type: NJ eCourts Case Initiation Confirmation
  Case Initiation Date' 06/07/2021                                     Jury Demand: YES - 6 JURORS
  Attorney Name: JEREMIAS E BATISTA                                     is this a professional malpractice case? NO
  Firm Name: JEREMIAS E BATISTA LL                                     Related cases pending' NO
  Address: 417 CLIFTON AVE                                             If yes, list docket numbers:
  CLIFTON NJ 070110000                                                 Do you anticipate adding any parties (arising out of same
  Phone: 9733409600                                                    transaction or occurrence)? NO
  Name of Party: PLAiNTIFF 1 Sanchez, Annette
  Name of Defendant's Primary Insurance Company                         Are sexual abuse claims alleged by: Annette Sanchez? NO

  (if known): Unknown



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                          case CHARACTERISTICS For punndSes of= DETERMINING IF case is APPROPRIATE For MEDIATION                        "         "



  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an Interpreter be needed? NO
           If yes, for what language:

  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
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  I certify that confidential personal identifers have been redacted from documents now submitted to the
  court. and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  06/07/2021                                                                                                     Isl JEREMIAS E BATISTA
  Dated                                                                                                                              Signed
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    42488.00136

    MARSHALL DENNEHEY
    By: Alicia L. Calaf, Esq.
    Attorney LD. No. 021092004
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I
    9973-618-4165          8973618-0685
    8 alcalaf@mdwcg.com

    BY: KEVIN E. HEXSTALL, Esq.
    Attorney Identification No.: 027911997
    2000 Market Street, Suite 2300
    Philadelphia, PA 19103
    215-575-2642
    kehexstalE@mdwcg.com

    ATTORNEYS FOR DEFENDANT - Home Depot U.S.A., Inc.

     ANNETTE SANCHEZ                                    SUPERIOR COURT OF NEW JERSEY
                                                        LAW DIVISION:  HUDSON COUNTY
                         Plaintiff,                     DOCKET NO.:    HUD-L~2278-2 I

                            _V8-                                              Civil Action

     HOME DEPOT U.S.A., INC, ABC                                 ANSWER WITH CROSSCLAIMS
     COMPANIES (1-5) (fictitious named as yet
     unknown),

                       Defendants

           Defendant, Home Depot U.S.A., Inc., through its attorneys, Marshall Dennehey, in response to the

    Complaint filed by Plaintiff Annette Sanchez ("Plaintiff"), deposes and says the following:

                                                  FIRST COUNT

            1.      Defendant Home Depot U.S.A., Inc. is without knowledge or information sufficient to form

    a belief as to the truth of the allegations regarding Plaintiffs alleged fall contained in this paragraph. Home

    Depot U.S.A., Inc. denies any allegations that Plaintiff sustained a severe injury.

           2.       Defendant Home Depot U.S.A., Inc. admits the allegations contained in paragraph 2 of the

    First Count of the Complaint.
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       3.      Defendant Home Depot U.S.A., Inc. denies the allegations contained in paragraph 3 of the

First Count of the Complaint.

       4.      Defendant Home Depot U.S.A., Inc. provides no answer to the allegations contained in

paragraph 4 of the First County of the Complaint as the allegations contained therein call for Iegai

conclusions.

       5.      Defendant Home Depot U.S.A., Inc. denies the allegations contained in paragraph 5 of the

First Count of the Complaint.

       6.      Defendant Home Depot U.S.A., Inc. denies the aIEegations contained in paragraph 6 of the

First Count of the Complaint.

       WHEREFORE, Defendant Home Depot U.S.A., Inc. demands that the Court dismiss Plaintiffs

Complaint and award Defendant Home Depot U.S.A., Inc. costs of suit, and any other relief that the Court

deems just.

                                     AFFIRMATIVE DEFENSES
                                  FIRST AFFIRMATIVE DEFENSE

       The Complaint fails, in whole or in part, to set forth a cause of action upon which relief can be

granted.

                                SECOND AFFIRMATIVE DEFENSE

       Defendant Home Depot U.S.A., Inc. owes no duty to Plaintiff.

                                 THIRD AFFIRMATIVE DEFENSE

       Defendant Home Depot U,S.A., Inc. breached no duty to Plaintiff.

                                FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs injuries, if any, and which are denied, were not caused by any conduct of Defendant

Home Depot U.S.A., Inc.




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                                   FIFTH AFFIRMATIVE DEFENSE
        Plaintiff has not suffered damages proximately caused by or attributable to Defendant Home

Depot U.S,A., Inc.'s conduct.

                                   SIXTH AFFIRMATIVE DEFENSE

        The Complaint fails, in whole or in part, as the damages alleged by Plaintiff, if any, and which are

denied, were caused by the acts or omissions of others for whom Home Depot U.S.A., Inc. is not responsible

or liable.

                                 SEVENTH AFFIRMATIVE DEFENSE

        Benefits paid by a healthcare carrier, Medicare or Medicaid are to be deducted from any award

pursuant to N.J.S.A. 2A:15-97 in accordance with the collateral source rule.

                                  EIGHTH AFFIRMATIVE DEFENSE
        The injuries and damages complained of by Plaintiff pre-existed, or were sustained after the

incident that is the subject matter of the Complaint.

                                   NINTH AFFIRMATIVE DEFENSE

        Plaintiffs claims ate frivolous, in violation ofN.J.S.A. 2A:l5-59.1.

                                   TENTH AFFIRMATIVE DEFENSE
        The comparative fault of other parties' bars or limits recovery against Defendant Home Depot

U.S.A., Inc. under New Jersey's Comparative Negligence Act and New Jersey's Joint Tortfeasor

Contribution Law.

                                ELEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs claims are barred by the collateral source rule.

                                 TWELFTH AFFIRMATIVE DEFENSE

        The doctrine of Avoidable Consequences bars or limits Plaintiffs recovery.




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                              THIRTEENTH AFFIRMATIVE DEFENSE

        The damages alleged were due to a condition of which Defendant Home Depot U.S.A., Inc. had

no actual or constructive notice.

                             FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to mitigate his damages.

                               FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to name all necessary and indispensable parties. Specifically, Plaintiff has not

named the Township of West Long Branch, and this is an indispensable party to the litigation.

                               SIXTEENTH AFFIRMATIVE DEFENSE

       The injuries and damages complained of were the proximate result of the negligence of third

parties over whom Defendant Home Depot U.S.A., Inc. had no control.

                             SEVENTEENTH AFFIRMATIVE DEFENSE.

       The damages alleged were the result of unforeseeable, intervening OF superseding acts of others

independent of Defendant Home Depot U.S.A., Inc., which bar Plaintiffs causes of action.

                             EIGHTEENTH AFFIRMATIVE DEFENSE
       The injuries and damages complained of were the proximate result of the sole and contributory

negligence of Plaintiff.

                              NINETEENTH AFFIRMATIVE_ DEFENSE

       The Court has not obtained personal jurisdiction over Defendant Home Depot U.S.A., Inc., as

service of the Complaint was improper and defective pursuant to R. 4:4-4.

                              TWENTIETH AFFIRMATIVE DEFENSE

       Defendant specifically denies any and all liability as to punitive damages. Defendant hereby adopts

any and all rights and defenses under the New Jersey Punitive Damages Act, N.J.S.A. 2A:l5»5.9-5.17.




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                                TWENTY-FIRST AFFIRMATIVE DEFENSE

        The Complaint and causes of action alleged therein are time~barred pursuant to the applicable

Statute of Limitations.

                            TWENTY-SECOND AFFIRMATIVE DEFENSE

        The damages alleged were the result of an ongoing storm event which Defendant had no control

over.

                                TWENTY-THIRD AFFIRMATIVE DEFENSE

        Defendant Home Depot U.S.A., Inc. reserves the right to raise additional affirmative defenses.

                                     DEMAND FOR DOCUMENTS
        Demand is hereby made upon Plaintiff to furnish within five (5) days of the receipt of this Answer,

alE documents referenced in the Complaint pursuant to R. 4:18-2, which have not been previously produced

in this litigation by Plaintiff to Defendant Home Depot U.S.A., Inc.

                          DEMAND FOR ANSWERS TO INTERROGATORIES

        ¥'ursuant to R. 4: 17-1 (b)(1), demand is hereby made upon Plaintiff to Answers to Form "A" Uniform

Set oflnterrogatories of Appendix H, within the time prescribed by the Rules Governing the Courts of New

Jersey. Defendant Home Depot U.S.A., Inc. reserve the right to propound additional supplemental

interrogatories under the Rules.

                 DEMAND FOR DISCOVERY OF INSURANCE INFORMATION

        Pursuant to R. 4:E8-1, Defendant Home Depot U.S.A,, Inc. hereby demands that Plaintiff furnish

all information relative to any insurance coverage Plaintiff may have relating to the claims which are the

subject of the within action.

                     DEMAND FOR WRITTEN STATEMENT OF DAMAGES

        Demand is hereby made upon Plaintiff to furnish within five (5) days of the receipt of this Answer

to Complaint, a written Statement of Damages claimed pursuant to R. 4:5~2.



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                                     REQUEST FOR ALLOCATION

        Pursuant to R. 4:5-2(0) and Young v. Lotto, 123 N.J. 584 (1991), Defendant Home Depot U.S.A              9




inc. hereby advises that if any other defendant settles the within matter prior to conclusion of trial, the

Eiability of any settling co-defendants shall remain an issue and this Defendant shall seek an allocation of

percentage of negligence by the finder of fact against such a settling co-defendant and/or a credit in favor

of this Defendant consistent with such allocation. This Defendant shall rely upon all evidence, including

the direct examination and cross-examination of Plaintiff and Plaintiffs expert witnesses and any and all

other witnesses at the time ofttial, in support of this allocation and specifically reserves the right to call any

and all such witnesses.

                                DESIGNATION OF TRIAL COUNSEL

        Pursuant to R. 4:25-4, Kevin E. Hexstail, Esq. is hereby designated as Trial Counsel in the above

captioned matter.

                                                                               MARSHALL DENNEHEY

Dated: December 20, 2021                                                        fs/ Alicia L. Calaf
                                                                                   Alicia L. Calif


                      _CERTIFICATION oF COMPLIANCEW.ITH R. 1:38-7(92

        I certify that confidential personal identifiers are not contained in any documents now submitted to

the court, and wilE be redacted from all documents submitted in the future in accordance with R. 1:38-

7(b>.


Dated: December 20, 2021                                                       /sf Alicia L. Calaf
                                                                                  Alicia L. Calaf




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                               R. 4»5_i AND R. 4:6-I CERTIFICATIONS

        I hereby certify, pursuant to R. 4:5-1, based upon information which is presently known to me, that

this matter in controversy is not the subject of any other court or arbitration proceedings. I further certify

that, as of this date, I am not aware of any other parties that should rejoined in this action, and investigation

is ongoing as to whether other potentially liable parties should be joined in this action, and this pleading

may be amended as a result of that investigation. I also certify, pursuant to R. 4:6~l(a), that the within

pleading was served within the time period allowed by the Rules Governing the Courts oflNew Jersey.


Dated: December 20, 2021                                                       /sf Alicia L. Calaf
                                                                                  Alicia L. Calaf




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                                             Civil Case information Statement
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 Case Caption: SANCHEZ ANNETTE VS HOME DEPOT                                             Case Type: PERSONAL iNJURY
  USA INC.                                                                               Document Type: Answer
 Case Initiation Date: 06/07/2021                                                         Jury Demand: YES - 6 JURORS
  Attorney Name* ALICIA LYNNE CALAF                                                       is this a professional malpractice case? NO
 Firm Name: MARSHALL DENNEHEY WARNER COLEMAN                                              Related cases pending' NO
 & GOGGIN                                                                                If yes, list docket numbers:
  Address: 425 EAGLE ROCK AVE STE 302                                                     Do you anticipate adding any parties (arising out of same
 ROSELAND NJ 07068                                                                        transaction or occurrence)? NO
 Phone: 7329101969
 Name of Party: DEFENDANT : HOME DEPOT USA INC.                                          Are sexual abuse claims alleged by: ANNETTE SANCHEZ? NO

 Name of Defendant's Primary Insurance Company
 (if known): Sedgewick Claims



                          INFQRMATIONPRQVIDED on THIS.l=ORM GANNOT BEJNTRODUCEDINTQ EVIDENCE
                                           case CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION



  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:

  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
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  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and wil! be redacted from all documents submitted in the future in accordance with Rule 1:38~7(b)

  12/20/2021                                                                                                            is/ ALICIA LYNNE CALAF
  Dated                                                                                                                                                Signed
Case 2:22-cv-02360-MCA-ESK    Document
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      EXHIBIT
     Case 2:22-cv-02360-MCA-ESK Document 2-1 Filed 04/26/22 Page 22 of 22 PageID: 29
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                                               .......
                                                ........
                                                              THE
     DENNIS M. DONNELLY
    Cerlified Civil Trial Attorney
                                               .......
                                                              1 .      ;:"



                                                                                      LL                 ABRAHAM N. MILGRAUM


                                                              LAW FQQM
              88 Summit Avenue. 4th Floor, Summit, NJ 0790i    P: 908.275.1500   F: 908.275.4428   www.n}civil]ustice.com




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          Via Lawyers Service

          Alicia L. Calif, Esq.
          Marshall Dennehey
          425 Eagle Rock Avenue, Suite 302
          Roseland, NJ 07068

          Re:       Annette Sanchez vs Home Depot USA,                           et   al.
                    Docket No.: HUD~L~2278~21
                    Our File No.: 21-000058

          Dear Ms. Calaf             A
                                     *




               In reference to the above-referenced matter, enclosed please
          find plaintiff, Annette Sanchez' certified answers to Form A and
          Supplemental interrogatories along with the responses to the
          Notice to Produce.

               Should you have any questions, please do                                        not    hesitate            to
          contact my office.

                                                               Very truly yours,



                                                               ABRAHAM N , MILGRAUM
                                                               amilgraum@njciviljustice.com

          AND/jv
          Encls.
